Case 1:02-cV-01205-.]DB-tmp Document 125 Filed 05/06/05 Page 1 of 3 Page|D 153

lN THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
EASTERN DlVlSlON
TORR| WlLL|AMS,
Plaintiff,
v. NO. 02-1205-B/P

coRREcnoNs coRPoRAnoN
oF AMERicA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is P|aintiff's Motion for Leave to Designate Additiona| Expert and/or
for a Continuance filed on Apri| 26, 2005.

This motion is referred to the United States Magistrate judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons
for the objections Fai|ure to timely assign as error a defect in the magistrate judge’s order
will constitute a waiver of that objection. §ge_ Ru|e 72(a), Federa| Ru|es of Civil Procedure.

4
lT ls so oRDERED this L day of May, 2005.

 

'. DAN|EL BREEN `
o sTATEs DlsTRlcT juDGE

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This notice confirms a copy of the document docketed as number 125 in
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EssEE

 

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Honorable J. Breen
US DISTRICT COURT

